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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL M]NUTES - GENERAL
Case No. 2:17-cV-067l4-SVW-1\/[RW Date April 12, 2018

 

Title Michael M(mshooljv et al v. BMW of North A)))erica, LLC et al

 

 

Present: The Honorable STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 

Paul M. Cruz N/A
Deputy Clerk C01111 Rep011er / Recorder
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
N/A N/A
Proceedings: ORDER REQUESTING SUPPLEMENTAL FILES

The Colu“t ORDERS both parties to file the relevant wan'anties for the car at issue and its tires. The
Warranties should be flled by the end of day on Friday, April 13, 2018 (sooner if possible).

 

Initials of Preparer
PMC

 

 

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